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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                 AT BOWLING GREEN

BURKESVILLE HARDWOODS, LLC,         )
    PLAINTIFF                       )
                                    )
VS.                                 )
                                    )
TRAVIS COOMER                       )                CIVIL ACTION NO. 1:18-cv-18-GNS
                                    )
AND,                                )
                                    )
UNKNOWN DEFENDANT NO. 1             )
                                    )
AND,                                )
                                    )
UNKNOWN DEFENDANT NO. 2,            )                        (Electronically Filed)
                                    )
      DEFENDANTS                    )
____________________________________)

  PLAINTIFF, BURKESVILLE HARDWOODS, LLC, REPLY TO DEFENDANT, TRAVIS
                       COOMER’S COUNTERCLAIM

       Come now the Plaintiff, Burkesville Hardwoods, LLC, and for its Reply to Defendant,

Travis Coomer’s Counterclaim, states as follows:

                                        FIRST DEFENSE

          The Defendant’s Counterclaim should be dismissed in that there is (a) lack of

jurisdiction over the subject matter, (b) lack of jurisdiction over the person, (c) improper venue,

(d) insufficiency of process, (e) insufficiency of service of process, (f) failure to state a claim

upon which relief can be granted, and (g) failure to join a party under Rule 19.


                                      SECOND DEFENSE

       Plaintiff, Burkesville Hardwoods, LLC, denies paragraph 1 of the Defendant’s

Counterclaim.
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       Plaintiff, Burkesville Hardwoods, LLC, admits paragraph 2, 3, 4, 5, 6, and 7.


       Plaintiff, Burkesville Hardwoods, LLC, denies paragraph 8 and 9.


       Plaintiff, Burkesville Hardwoods, LLC, admits paragraph 10.

       Plaintiff, Burkesville Hardwoods, LLC denies paragraph 11, 12, 13, 14, 15, 16, 17, 18,

19, 20, 21, 22, 23, 24, and 25.

                                         THIRD DEFENSE

       The Plaintiff pleads unclean hands, fraud in factum, fraud in the inducement, laches, lack

of standing, estoppel, lack of consideration, and lack of mutuality of obligation.

                                       FOURTH DEFENSE

          All allegations of the Counterclaim, not specifically admitted, are hereby denied.

                                        FIFTH DEFENSE

       Plaintiff did not act with intent, malice, fraud, or recklessness, as required for an award of

punitive damages. Plaintiff further asserts as an affirmative defense that Defendant’s claim for

punitive damages is in violation of the Fifth and Fourteenth Amendments of the Constitution of

the United States in that said claims deprive Plaintiff of property without due process of law.

Further, the claim for punitive damages is violative of the Fourteenth Amendment of the

Constitution of the United States concerning equal protection and is violative of the provisions of

the Kentucky Constitution denying equal protection and in depriving this Plaintiff of property

without due process of law. The punitive damages claim is further in violation of the Eighth

Amendment to the Constitution of the United States and in violation of the Kentucky

Constitution regarding imposition of fines.




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                                          SIXTH DEFENSE

          Because the investigation of these Plaintiff is/are not complete at this time, this Plaintiff

may have defenses which are not presently known. Therefore, in order to preserve any such

defenses, the answering Plaintiff incorporates by reference as part of this Reply to the

Defendant’s Counterclaim all those appropriate defenses set forth in Rules 8 and 12 of the

Federal Rules of Civil Procedure. Moreover, this/these Plaintiff(s) preserves all rights pursuant

to Rule 15 of the Federal Rules of Civil Procedure to subsequently amend this answer in order to

clarify or add, if necessary, any such affirmative defenses or any other defenses pertinent to this

action.

                 WHEREFORE, Plaintiff, Burkesville Hardwood, LLC, demands as follows:

                 1.      Judgment on its Complaint;

                 2.      That Defendant’s Counterclaim be dismissed and stricken from the

                         docket;

                 3.      The Court accepts Jurisdiction;

                 4.      Its costs herein expended;

                 5.      Attorney's fees; and,

                 6.      Any such other just and proper relief which the Court may deem these

                         Defendants entitled.

                                                 JUDD, SATTERFIELD & ASSOCIATES, PLLC
                                                 869 Broadway Avenue
                                                 Bowling Green, KY 42101
                                                 Telephone: (270) 904-4141

                                                 /s/ Harlan Judd_________________________
                                                 Harlan E. Judd, III




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                                     CERTIFICATE OF SERVICE

       This is to certify that a true and exact copy of the foregoing was placed in the U.S. Mail
addressed as follows:

Hunter Durham
DURHAM & ZORNES
130 Public Square
P.O. Box 100
Columbia, KY 42728
Counsel for Defendant

       This the 9th day of March, 2018.



                                            /s/ Harlan Judd__________________________
                                            Harlan E. Judd, III
                                            Counsel for the Plaintiff




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